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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION

 In re:                                                      )   Chapter 11
                                                             )
 EASTERN LIVESTOCK CO., LLC, et al.,                         )   Case No. 10-93904-BHL-11
                                                             )
                        Debtors.                             )


                                   NOTICE OF POST TO BLOG

                 Notice is hereby given that James A. Knauer, the chapter 11 trustee appointed in

 this case, posted to his blog on February 16, 2012, requested information regarding the Debtor's

 bank account activity for the months of November, 2010 through January, 2011. To access this

 information, please visit the Trustee's blog at:

          http://www.easternlivestockbkinfo.com/trustees-blog.html.



                                                Respectfully submitted,

                                                FAEGRE BAKER DANIELS LLP


                                                By:        /s/ Terry E. Hall

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